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                                                   UNITED STATES BANKRUPTCY COURT
                                                    FOR THE DISTRICT OF DELAWARE


In re Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al .                             Case No. 19-11466 (MFW)
Debtors                                                                                  Reporting Period: July 1, 2023 - July 31, 2023


             MONTHLY OPERATING REPORT SUPPORTING DOCUMENTS

      Please see attached support for the following Debtors:



      DEBTORS                                                                           CASE NO.
      Center City Healthcare, LLC, et al.                                                    19-11466
      Philadelphia Academic Health System, LLC                                               19-11467
      St. Christopher's Healthcare, LLC                                                      19-11468
      Philadelphia Academic Medical Associates, LLC                                          19-11469
      HPS of PA, LLC                                                                         19-11470
      SCHC Pediatric Associates, LLC                                                         19-11471
      St. Christopher's Pediatric Urgent Care Center, LLC                                    19-11472
      SCHC Pediatric Anesthesia Associates, LLC                                              19-11473
      StChris Care at Northeast Pediatrics, LLC                                              19-11474
      TPS of PA, LLC                                                                         19-11475
      TPS II of PA, LLC                                                                      19-11476
      TPS III of PA, LLC                                                                     19-11477
      TPS IV of PA, LLC                                                                      19-11478
      TPS V of PA, LLC                                                                       19-11479
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In re Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.                                                                                                                                                                      Case No. 19-11466 (MFW)
Debtors                                                                                                                                                                                                                                            Reporting Period: July 1, 2023 - July 31, 2023

SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
Reporting Period: July 1, 2023 - July 31, 2023
                                                                                 19-11466                 19-11468               19-11478                 19-11477               19-11471               19-11474                19-11476                 19-11479                  19-11467
                                                                                                                                                                                                      StChris Care                                                                Philadelphia
                                                                                Center City           St. Christopher's           TPS IV                   TPS III            SCHC Pediatric          at Northeast                TPS II                   TPS V                Academic Health            Consolidated
                                                                              Healthcare, LLC         Healthcare, LLC          of PA, L.L.C.            of PA, L.L.C.        Associates, L.L.C.     Pediatrics, L.L.C.        of PA, L.L.C.            of PA, L.L.C.             System, LLC              Entities Total 1

   Beginning Cash Balance - Books 2                                                      613,527               280,500                          -                        -                      -                     -                        -                        -              16,059,614               16,953,640

               3
   Collections                                                                                 11                 2,225                         -                        -                      -                     -                        -                        -                         -                  2,236
   Other4                                                                                       -                     -                         -                        -                      -                     -                        -                        -                         -                      -
   Total Receipts                                                                              11                 2,225                         -                        -                      -                     -                        -                        -                         -                  2,236

   Salaries, wages and benefits                                                           (34,220)              (12,766)                        -                        -                      -                     -                        -                        -                 (57,971)                (104,956)
   Post-petition Accounts Payable Reduction                                                     -                     -                         -                        -                      -                     -                        -                        -                       -                        -
   Supplies Expense                                                                             -                     -                         -                        -                      -                     -                        -                        -                       -                        -
   Other controllable expenses                                                                  -                     -                         -                        -                      -                     -                        -                        -                  (1,909)                  (1,909)
   Non-controllable expenses10                                                            (47,675)              (12,983)                        -                        -                      -                     -                        -                        -                 275,451                  214,792
   Total Operating Disbursements                                                          (81,895)              (25,749)                        -                        -                      -                     -                        -                        -                 215,571                  107,928

   Restructuring Related Disbursements
   Professional Fees5                                                                       (7,500)              (7,500)                        -                        -                      -                     -                        -                        -                         -                (15,000)
   UST Quarterly Fee                                                                             -                    -                         -                        -                      -                     -                        -                        -                         -                      -

   Net Cash Flow Prior to Financing Activities                                            (89,384)              (31,024)                        -                        -                      -                     -                        -                        -                 215,571                   95,164


   DIP Revolver Borrowings                                                                     -                     -                      -                        -                      -                     -                        -                        -                             -                      -
   DIP Revolver Paydown                                                                        -                     -                      -                        -                      -                     -                        -                        -                             -                      -
   Intercompany Loan6                                                                   (135,959)                    -                      -                        -                      -                     -                        -                        -                             -               (135,959)

   Net Cash Flow                                                                        (225,343)               (31,024)                        -                        -                      -                     -                        -                        -                 215,571                  (40,795)

   Transfers                                                                              89,384                31,024                          -                        -                      -                     -                        -                        -                (120,407)                           -
   Ending Balance - Books                                                                477,568      $        280,500     $                    -   $                    -   $                  -   $                 -   $                    -   $                    -   $          16,154,778     $         16,912,845

Monthly Operating Report Reconciliation 7 :
  Beginning Balance (ending Cash Balance from June MOR)                                1,756,913             (7,252,206)                        -                        -                      -                     -                    650                          -              29,469,951               23,975,308
         Adjustments for transfers8                                                      (89,384)               (31,024)                        -                        -                      -                     -                      -                          -                 215,571                   95,164
   Ending Cash Balance - July MOR                                                      1,667,529 $           (7,283,230) $                      -   $                    -   $                  -   $                 -   $                650     $                    -   $          29,685,522     $         24,070,472

   TOTAL DISBURSEMENTS FOR
   CALCULATING U.S. TRUSTEE QUARTERLY FEES9                               $               (89,395) $            (33,249) $                      -   $                    -   $                  -   $                 -   $                    -   $                    -   $             215,571     $             92,928

1 - The remaining five (5) debtors not shown are consolidated into other entities, and therefore, do not report receipts/disbursements. Philadelphia Academic Medical Associates, LLC (19-11469), HPS of PA, L.L.C. (19-11470), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (19-11472),
SCHC Pediatric Anesthesia Associates, L.L.C. (19-11473), TPS of PA, L.L.C. (19-11475).
2 - Non-patient specific receipts are being deposited to a PAHS bank account.
3 - For reporting purposes, HUH practice group collections are included in Hahnemann collections and STC practice group collections are included in the St. Christopher's collections.
4 - Includes payments received in connection with the cost report settlement with CMS and payments received from the preference recovery process. In February 2023, a costs report settlement of $10.3 million was received by the debtors for the benefit of Hahnemann University Hospital which
settlement related to recoveries on patient billings from 2019 and prior years. While some of these recoveries were anticipated and recorded in Other Current Assets, the debtors are currently evaluating these balances to determine the need for, or extent of adjustment to this account as a change in
estimate. In the interim, the cost report settlement has been recognized as “Other Miscellaneous Income” in the February 2023 MOR
5 - For presentation purposes in light of the MOR formatting requirements, and because such amounts are funded out of a Philadelphia Academic Health System ("PAHS") bank account, the professional fee and expense detail for each month is shown in the PAHS monthly operating report. However,
because the Debtors have historically allocated the professional fee disbursements to Center City Healthcare, LLC and St. Christopher’s Healthcare, LLC in their records, such amounts are allocated to each such debtor herein.
6 - Payments made in connection with Court-approved loan to Broad Street Entities [D.I. 3811, 2896]. Following the MOU settlement CCH assumed the Broad Street loans. [D.I. 4216]
7 - Reconciliation of monthly operating report to actual cash balance per books.
8 - Under the cash management system, disbursements made out of the PAHS concentration account and collections for each debtor are transferred to this account. As a result, the reported cash balance on the MOR form will be different from the cash balance per the Debtors' books since
the MOR shows the collections and disbursement activity broken down by debtor.
9 - The Debtors have excluded from this total any amounts paid to the Broad Street Entities on account of the Court-approved intercompany loan. Such amounts will be repaid to the estate in accordance with the Court-approved loan terms and thereafter subsequently disbursed
in accordance with a confirmed plan or plans in these cases, at which time they will be treated as disbursements for purposed of calculating quarterly fees.
10 - Includes $420,469 of refunds due to overpayment on certain invoices
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In re Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.                                           Case No. 19-11466 (MFW)
Debtors                                                                                                                 Reporting Period: July 1, 2023 - July 31, 2023

Schedule of Debtor Bank Account Balances

                                                                                                                             Beginning                                                       Ending
Bank Account    Bank                       Account Holder                               Account Name                    Account Balance          Deposits           Disbursements    Account Balance
     4834       WELLS FARGO BANK, N.A.     Philadelphia Academic Health System          Voluntary Benefits                        $696                 -                       -               $696
     5202       WELLS FARGO BANK, N.A.     Philadelphia Academic Health System          Merchant Credit Card Deposits              139                 -                       -               $139
     5981       WELLS FARGO BANK, N.A.     Center City Healthcare                       Non-Government Account                        -                                                          $0
     5998       WELLS FARGO BANK, N.A.     Front Street Healthcare Properties                                                        -                 -                        -                $0
     6004       WELLS FARGO BANK, N.A.     Broad Street Healthcare Properties                                                         -                -                        -                $0
     6005       WELLS FARGO BANK, N.A.     St. Christopher's Healthcare                 Non-Government Account                        -                -                        -                $0
     6021       WELLS FARGO BANK, N.A.     Philadelphia Academic Health System          Concentration Account               16,052,172           422,705                 (327,541)       16,147,335
     6030       WELLS FARGO BANK, N.A.     Philadelphia Academic Health System          Benefits Claim Self-Funding                   -                -                        -                $0
     6039       WELLS FARGO BANK, N.A.     Center City Healthcare                       Operating Account                             -                -                        -                $0
     6047       WELLS FARGO BANK, N.A.     Philadelphia Academic Health System          Operating Account                             -                -                        -                $0
     6048       WELLS FARGO BANK, N.A.     Philadelphia Academic Health System          Dental Claims Self-Funding                 278                 -                        -              $278
     6054       WELLS FARGO BANK, N.A.     St. Christopher's Healthcare                 Operating Account                             -                -                        -                $0
        6062    WELLS FARGO BANK, N.A.     Philadelphia Academic Health System                                                        -                -                        -                $0
        6063    WELLS FARGO BANK, N.A.     Philadelphia Academic Health System          Master Deposit Account                        -            3,960                   (3,960)               $0
        6070    WELLS FARGO BANK, N.A.     Center City Healthcare                       Payroll Account                        1,900.00                                                      $1,900
        6071    WELLS FARGO BANK, N.A.     Center City Healthcare                       Government Deposit Account                    -                -                        -                $0
        6096    WELLS FARGO BANK, N.A.     St. Christopher's Healthcare                 Payroll Account                         280,500                -                        -          $280,500
        6097    WELLS FARGO BANK, N.A.     St. Christopher's Healthcare                 Government Deposit Account                    -                -                        -                $0
        8873    WELLS FARGO BANK, N.A.     Philadelphia Academic Medical Associates     Operating Account                             -                -                        -                $0
        9146    WELLS FARGO BANK, N.A.     TPS V of PA                                  Non-Government Account                        -                -                        -                $0
        9310    WELLS FARGO BANK, N.A.     St. Chris Care At Northeast Pediatrics       Government Account                            -                -                        -                $0
        9328    WELLS FARGO BANK, N.A.     St. Chris Care At Northeast Pediatrics       Non-Government Account                        -                -                        -                $0
        9336    WELLS FARGO BANK, N.A.     TPS of PA                                    Government Account                            -                -                        -                $0
        9344    WELLS FARGO BANK, N.A.     TPS of PA                                    Non-Government Account                        -                -                        -                $0
        9351    WELLS FARGO BANK, N.A.     TPS II of PA                                 Government Account                            -                                                          $0
        9369    WELLS FARGO BANK, N.A.     TPS II of PA                                 Non-Government Account                        -                -                         -               $0
        9377    WELLS FARGO BANK, N.A.     TPS III of PA                                Government Account                            -                -                         -               $0
        9385    WELLS FARGO BANK, N.A.     TPS III of PA                                Non-Government Account                        -                -                         -               $0
        9393    WELLS FARGO BANK, N.A.     TPS IV of PA                                 Government Account                            -                -                         -               $0
        9401    WELLS FARGO BANK, N.A.     TPS IV of PA                                 Non-Government Account                        -                -                         -               $0
        9419    WELLS FARGO BANK, N.A.     TPS V of PA                                  Government Account                            -                -                         -               $0
        9500    WELLS FARGO BANK, N.A.     HPS of PA                                    Government Account                            -                -                         -               $0
        9518    WELLS FARGO BANK, N.A.     HPS of PA                                    Non-Government Account                        -               11                      (11)               $0
        9526    WELLS FARGO BANK, N.A.     SCHC Pediatric Associates                    Government Account                            -                -                         -               $0
        9534    WELLS FARGO BANK, N.A.     SCHC Pediatric Associates                    Non-Government Account                        -               25                      (25)               $0
        9542    WELLS FARGO BANK, N.A.     St. Christopher's Pediatric Urgent Care      Government Account                            -                -                         -               $0
        9559    WELLS FARGO BANK, N.A.     St. Christopher's Pediatric Urgent Care      Non-Government Account                        -            1,824                   (1,824)               $0
        9567    WELLS FARGO BANK, N.A.     SCHC Pediatric Anesthesia Associates         Government Account                            -                -                         -               $0
        9575    WELLS FARGO BANK, N.A.     SCHC Pediatric Anesthesia Associates         Non-Government Account                        -            2,100                   (2,100)               $0
        0121    AXOS BANK                  Philadelphia Academic Health System          Operating Account Funding                 6,329                -                         -           $6,329
        0113    AXOS BANK                  Center City Healthcare                       Real Estate Account Funding             606,825                -                 (135,959)         $470,866
Total                                                                                                                       $16,948,839         $430,625                 (471,420)      $16,908,044
                                                                                                                                  4,802                                 Petty Cash           $4,802
                                                                                        Total                               $16,953,640                     Total                       $16,912,845
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In re Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.  Case No. 19-11466 (MFW)
Debtors                                                           Reporting Period: July 1, 2023 - July 31, 2023

                                        STATEMENT OF OPERATIONS
                                             (Consolidated Income Statement)1

                                                                                                                Cumulative
REVENUES                                                                        July 2023                     Filing to Date
Revenues                                                                              -                       $905,518,153
Less: Reductions                                                                        -                     (801,734,846)
Net Revenue                                                                            $-                     $103,783,307
OPERATING EXPENSES
Salaries, wages and benefits                                                      104,956                     $114,982,436
Supplies expense                                                                     -                          23,774,521
Other controllable expenses 2                                                      1,909                        90,729,625
Non-controllable expenses 3                                                     (214,792)                       57,178,191
Midcap term loan                                                                     -                           1,597,750
Maintenance Expense5                                                             135,959                         7,322,546
Total Operating Expenses                                                          28,031                       295,585,070
Net Profit (Loss) Before Other Income & Expenses                                ($28,031)                    ($191,801,763)
OTHER INCOME AND EXPENSES
Other Revenue6                                                                          -                      $61,899,941
Proceeds from Equipment Sale                                                            -                        1,597,750
Proceeds from Tenet Contribution                                                        -                        2,800,000
Proceeds from sale of STC (Net)                                                         -                       14,609,471
Other Non-Operating Income                                                              -                        3,272,942
Other Non-Operating Income 4                                                            -                      (10,170,532)
Interest Expense                                                                        -                        2,855,203
Net Profit (Loss) Before Reorganization Items                                   ($28,031)                    ($120,961,565)
REORGANIZATION ITEMS
Professional Fees                                                                 15,000                       $28,792,863
Professional Fees - Escrow                                                             -                          9,639,105
U. S. Trustee Quarterly Fees                                                           -                          2,878,712
Total Reorganization Expenses                                                     15,000                       $41,310,680
Net Profit (Loss)                                                               ($43,031)                    ($162,272,245)

1 - The unconsolidated Statements of Income (unaudited) are provided subsequent to the continuation sheet.
2 - See #1 on attached Continuation Sheet.
3 - Excludes Professional and UST Fees. See #2 on attached Continuation Sheet. Also includes $420,469 of refunds due to overpayment on certain invoices
4 - Consists the write-down of balance sheet accounts that occured in January 2020 as adjusted for additional collections on Accounts Receivable expected
5 - Pursuant to the Court-approved Memorandum of Understanding of Global Settlement among, Inter Alia, Debtors’, Debtors’ Subsidiaries, Committee, Tenet, Conifer, MBNF Parties,
HSRE Entities and CONA Parties (the “MOU”) approved by the Court on August 29, 2022 [D.I. 4216], CCH assumed the liabilities of the Broad Street PropCos (as defined in the
MOU) with respect to the maintenance of the Real Estate (as defined in the MOU). As contemplated in the agreement, such property maintenance expenses will be repaid to the PAHS’s
estate in accordance with the Court-approved loan terms and thereafter subsequently disbursed in accordance with a confirmed plan or plans. Prior to the MOU the Debtors made loans
to the Broad Street PropCos for property maintenance expenses in the amount of $4,140,789, which amount has now been assumed by CCH as part of the MOU.

6 - In February 2023, a costs report settlement of $10.3 million was received by the debtors for the benefit of Hahnemann University Hospital which settlement related to recoveries on
patient billings from 2019 and prior years. While some of these recoveries were anticipated and recorded in Other Current Assets, the debtors are currently evaluating these balances to
determine the need for, or extent of adjustment to this account as a change in estimate. In the interim, the cost report settlement has been recognized as “Other Miscellaneous Income” in
the February 2023 MOR
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    In re Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.                                      Case No. 19-11466 (MFW)
    Debtors                                                                                          Reporting Period: July 1, 2023 - July 31, 2023

                                                      STATEMENT OF OPERATIONS - continuation sheet

                                                                                                                                       Cumulative
Ref BREAKDOWN OF "OTHER" CATEGORY                                                                    July 2023                       Filing to Date

1   Other Controllable Expenses
    Administrative Claims                                                                                    -                          $962,777
    Bank Fees                                                                                            1,909                            230,136
    1199 Pension and Benefits                                                                                -                             39,546
    Other                                                                                                    -                         (1,039,937)
    2019 OCE (See 2019 MORs)                                                                                 -                         90,537,008
    Total Other Controllable Expenses                                                                    1,909                        $90,729,530
2   Non-Controllable Expenses
    Insurance - RRG                                                                                         -                          $2,439,166
    Conifer Fee                                                                                             -                             480,000
    Tenet/Conifer Extension Fees                                                                            -                           1,203,118
    Conifer Cash Collection Fee                                                                             -                             389,534
    NEXCOR CAM CHARGE                                                                                       -                             482,349
    Insurance Costs                                                                                         -                           1,937,341
    Cost Report Preparation                                                                                 -                              40,176
    Other Employment Related Costs                                                                          -                               8,074
    Medical Claims                                                                                          -                             383,203
    Professional Fees                                                                                  15,000                         $28,638,567
    Shutdown / Maint./Utilites (not Nexcor)                                                                 -                             941,480
    Administrative Claims                                                                             180,677                          12,928,304
    OMNI / Noticing / Publication / Solitication                                                            -                           4,095,944
    US Trustee                                                                                              -                           2,880,987
    Tail Coverage/MedMal                                                                                    -                           6,281,638
    HSRE                                                                                                    -                           1,259,385
    Board Fees                                                                                         25,000                             935,000
    2019 NCE (See 2019 MORs)                                                                                -                          23,259,930
    Total Non-Controllable Expenses                                                                   220,677                         $88,584,198
3   Other Revenue - Pre-January 2020
    8727 REV - CAPITATION &                                                                                  -                          $240,888
    8904 RENTAL REVENUE                                                                                      -                             10,875
    8905 OTHER REV-PARKING L                                                                                 -                            614,614
    8908 SUB-LEASE INCOME                                                                                    -                             78,199
    8913 RESIDENCY PROGRAM R                                                                                 -                            604,026
    8946 VENDING MACHINES CO                                                                                 -                             44,641
    8955 OTHER INCOME MED RE                                                                                 -                             50,280
    8975 MISC REVENUE                                                                                        -                         41,442,568
    8909 INCOME RELATED INTI                                                                                 -                          9,704,895
    8910 NURSING SCHOOL TUIT                                                                                 -                            170,159
    8916 CAFETERIA REVENUE                                                                                   -                            642,342
    8970 OTHER REV-SHARED RI                                                                                 -                              7,544
    8980 OTHER REVENUES                                                                                      -                          6,603,665
    8921 MISC REV UNRESTRICT                                                                                 -                             29,162
    8972 MANAGEMENT FEES REV                                                                                 -                          1,656,086
    Total Other Revenue                                                                                      -                        $61,899,944
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In re Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.                                                                                                                                                                                              Case No. 19-11466 (MFW)
Debtors                                                                                                                                                                                                                                                  Reporting Period: July 1, 2023 - July 31, 2023

Statements of Income (unaudited) 1
Reporting Period: July 1, 2023 - July 31, 2023

                                                                                                                                                                            StChris Care                                                                   Philadelphia
                                           Center City             St. Christopher's               TPS IV                    TPS III            SCHC Pediatric              at Northeast                   TPS II                   TPS V                Academic Health              Consolidated
                                         Healthcare, LLC           Healthcare, LLC             of PA, L.L.C. 2           of PA, L.L.C. 2       Associates, L.L.C. 3       Pediatrics, L.L.C.           of PA, L.L.C. 2           of PA, L.L.C.            System, LLC 4               Entities Total

Net patient revenue                  $                     -   $                       -   $                     -   $                     -   $                  -   $                        -   $                     -   $                   -   $                        -   $                    -
Other revenue                                              -                           -                         -                         -                      -                            -                         -                       -                            -                        -
                Net revenue                                -                           -                         -                         -                      -                            -                         -                       -                            -                        -
Operating charges:
Salaries, wages and benefits                        34,220                      12,766                           -                         -                      -                            -                         -                       -                      57,971                 104,956
Supplies expense                                           -                           -                         -                         -                      -                            -                         -                       -                            -                        -
Other controllable expenses                                -                           -                         -                         -                      -                            -                         -                       -                       1,909                   1,909
Non-controllable expenses                           55,175                      20,483                           -                         -                      -                            -                         -                       -                    (275,451)               (199,792)
Maintenance Expense5                              135,959                              -                         -                         -                      -                            -                         -                       -                            -                135,959
      Total operating expenses                    225,354                    33,248.50                           -                         -                      -                            -                         -                       -                    (215,571)                 43,031
                EBITDA                           (225,354)                     (33,249)                          -                         -                      -                            -                         -                       -                    215,571                  (43,031)
Non-Operating Income                                      -                             -                       -                        -                       -                -                        -                        -                             -                        -
          PRE-TAX INCOME             $            (225,354) $                   (33,249) $                   -      $                -       $                -      $         -      $                 -     $                  -     $                 215,571 $                   (43,031)
Notes
1 - The balance sheets and statements of income presented herein reflect the unadjusted operations of Philadelphia Academic Health System, LLC ("PAHS"). Only 9 of the 14 debtor entities are shown in the consolidated financials. The other debtor entities roll up to the listed debtor
entities, explained in the below notes. As of January 2020, due to the loss of debtors internal accounting system, financial statements are reported on a modified cash basis.
2 - TPS of PA, L.L.C. does not report financials; however, has leasehold interests reported on respective subsidiary entities.
3 - Includes consolidated subsidiary debtor entities: St. Christopher's Pediatric Urgent Care Center, L.L.C. and SCHC Pediatric Anesthesia Associates, L.L.C.
4 - Includes consolidated subsidiary debtor entities HPS of PA L.L.C. and Philadelphia Academic Medical Associates.
5 - Pursuant to the Court-approved Memorandum of Understanding of Global Settlement among, Inter Alia, Debtors’, Debtors’ Subsidiaries, Committee, Tenet, Conifer, MBNF Parties, HSRE Entities and CONA Parties (the “MOU”) approved by the Court on August 29, 2022 [D.I.
4216], CCH assumed the liabilities of the Broad Street PropCos (as defined in the MOU) with respect to the maintenance of the Real Estate (as defined in the MOU). As contemplated in the agreement, such property maintenance expenses will be repaid to the PAHS’s estate in
accordance with the Court-approved loan terms and thereafter subsequently disbursed in accordance with a confirmed plan or plans. Prior to the MOU the Debtors made loans to the Broad Street PropCos for property maintenance expenses in the amount of $4,140,789, which amount has
now been assumed by CCH as part of the MOU.
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In re Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.                   Case No. 19-11466 (MFW)
                                Debtors                                       Reporting Period: July 1, 2023 - July 31, 2023


                                                         BALANCE SHEET
                                                           (Consolidated)

ASSETS
CURRENT ASSETS                                                                                                              July 2023
Unrestricted Cash and Equivalents                                                                                      $16,912,845.11
Accounts Receivable (Net)                                                                                                  433,111.48
Other Current Assets                                                                                                    14,151,736.66
TOTAL CURRENT ASSETS                                                                                                   $31,497,693.25
OTHER ASSETS
Intercompany Loan Receivable                                                                                             7,322,546.18
TOTAL OTHER ASSETS                                                                                                      $7,322,546.18
TOTAL ASSETS                                                                                                           $38,820,239.43


LIABILITIES AND OWNER EQUITY
LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)                                                                          July 2023
Accounts payable 1                                                                                                               $0.00
Accrued Liabilities - Employee Obligations                                                                                1,616,118.00
Intercompany Loan Payable2                                                                                               7,322,546.18
TOTAL POSTPETITION LIABILITIES 3                                                                                        $8,938,664.18
LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition) - See continuation schedule
Accounts payable                                                                                                      $164,285,971.84
Accrued Expenses - Employee Obligations                                                                                 18,698,796.01
Accrued Liabilities - Other 4                                                                                           28,009,832.74
Patient credit balances                                                                                                 10,565,463.00
Due to PAHH                                                                                                                604,838.00
Priority Unsecured Debt - Taxes                                                                                            578,928.10
TOTAL PRE-PETITION LIABILITIES                                                                                        $222,743,829.69

TOTAL LIABILITIES                                                                                                     $231,682,493.87
OWNER EQUITY
Capital surplus                                                                                                        $96,522,038.00
  Retained earnings                                                                                                   (289,341,260.17)
  Additions                                                                                                                       0.00
Profit (loss)                                                                                                               (43,031.27)
NET OWNER EQUITY                                                                                                     ($192,862,253.44)
TOTAL LIABILITIES AND OWNERS' EQUITY                                                                                   $38,820,240.43




Notes:

1 - AP amounts have been adjusted after review of Debtors’ books and records. The Debtors believe they are caught up on post-
petition trade payables
2 - Unconsolidated Balance Sheet (unaudited) provided on the subsequent pages.
3 - This excludes a $51.0 M non-recourse HSRE liability assumed per the MOU.
4 - Accrued Liabilities - Other is adjusted as of January 2020. Remaining accruals include city and state hospital assessments,
medicare/medicaid payment accruals, and taxes.
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In re Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.                                                                                        Case No. 19-11466 (MFW)
Debtors                                                                                                                                            Reporting Period: July 1, 2023 - July 31, 2023

                                                                       PRE-PETITION LIABILITIES - Continuation schedule


PRE-PETITION LIABILITIES
                                                                                        Accounts           Other            Accrued           Credit      Due to         Taxes         TOTAL
                                                                                        Payable           Accrued          Employee          Balances     PAHH           Owed
Debtor                                                                                                                     Obligations
Center City Healthcare, LLC                                                          $ 107,516,004     $ 22,862,718       $ 6,094,015    $    4,230,647   $       -     $ 576,298   $ 141,279,682
St. Christopher's Healthcare, LLC                                                       16,081,363        4,985,832          3,316,599        2,753,801       604,838       1,258      27,743,691
TPS IV of PA, L.L.C.                                                                    10,449,439              -                   -           647,602           -           -        11,097,041
TPS III of PA, L.L.C.                                                                      320,529              -                   -             8,508           -           -           329,037
SCHC Pediatric Associates, L.L.C.                                                       14,404,220           56,933                 -         2,558,475           -         1,372      17,021,000
StChris Care at Northeast Pediatrics, L.L.C.                                               266,441              291                 -           127,761           -           -           394,493
TPS II of PA, L.L.C.                                                                       393,914           62,285                 -            76,343           -           -           532,542
TPS V of PA, L.L.C.                                                                        461,429              440                 -           162,326           -           -           624,195
Philadelphia Academic Health System, LLC                                                14,392,633           41,334                 -               -             -           -        14,433,967
Accrued Payroll: Physicians Groups                                                             -                -            9,288,182              -             -           -         9,288,182
Maintenance Expense                                                                            -                -                   -                             -           -               -
Total                                                                                  164,285,972       28,009,833         18,698,796       10,565,463       604,838     578,928     222,743,830
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In re Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.                                                                             Case No. 19-11466 (MFW)
Debtors                                                                                                                                 Reporting Period: July 1, 2023 - July 31, 2023


                                                                     SUMMARY OF UNPAID POSTPETITION DEBTS
                                                                                                           Number of Days Past Due
Type                                                                                         0-30      31-60            61-90            Over 90             Total
Intercompany Loan Payable                                                                     $0         $0                $0        $7,322,546        $7,322,546
                                                                           Case 19-11466-MFW                                            Doc 4853-1                          Filed 09/13/23                           Page 10 of 11


In re Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.                                                                                                                                                                                                                       Case No. 19-11466 (MFW)
Debtors                                                                                                                                                                                                                                                                           Reporting Period: July 1, 2023 - July 31, 2023

Balance Sheets (unaudited) 1, 2
As of July 31, 2023

                                                                                                                                                                                                       StChris Care                                                             Philadelphia
                                                                   Center City Healthcare,          St. Christopher's             TPS IV                TPS III             SCHC Pediatric             at Northeast                TPS II                  TPS V              Academic Health               Consolidated
                                                                            LLC                     Healthcare, LLC           of PA, L.L.C. 3       of PA, L.L.C. 3        Associates, L.L.C. 4      Pediatrics, L.L.C.        of PA, L.L.C. 3         of PA, L.L.C.           System, LLC 5                Entities Total
ASSETS
  Cash and cash equivalents
      Unrestricted cash                                            $                477,568    $               280,500    $                -    $                  -    $                    -    $                  -    $                  -    $                  -    $          16,154,778 $                      16,912,845
  Accounts Receivable - 2020                                                         32,823                    273,301                  84,057                  42,930                       -                       -                       -                       -                      -                             433,111
  Inventory 6                                                                           -                          -                       -                       -                         -                       -                       -                       -                      -                                 -
  Prepaid expenses                                                                      -                          -                       -                       -                         -                       -                       -                       -                      -                                 -
  Other current assets7                                                           6,873,551                 30,898,173              (1,943,070)                (71,421)               (7,704,960)               (618,321)               (375,593)             (1,107,430)           (11,799,193)                       14,151,737
  Total current assets                                                            7,383,942                 31,451,974              (1,859,013)                (28,491)               (7,704,960)               (618,321)               (375,593)             (1,107,430)             4,355,584                        31,497,693
  Purchased assets - unallocated
        Property and equipment 8                                                         -                          -                       -                      -                          -                       -                       -                      -                       -                                     -
        Less: accumulated depreciation                                                   -                          -                       -                      -                          -                       -                       -                      -                       -                                     -
    Property and equipment, net                                                          -                          -                       -                      -                          -                       -                       -                      -                       -                                     -
    Other assets
    Intercompany Loan Receivable                                                         -                          -                       -                      -                          -                       -                       -                      -                 7,322,546                         7,322,546
    Philadelphia Academic Risk Retention Group, LLC                                      -                          -                       -                      -                          -                       -                       -                      -                       -                                 -
    Due from Philadelphia Academic Health Holdings, LLC                                  -                          -                       -                      -                          -                       -                       -                      -                       -                                 -
  Other intangibles and deferred assets                                                  -                          -                       -                      -                          -                       -                       -                      -                       -                                     -
  Accumulated amortization                                                               -                          -                       -                      -                          -                       -                       -                      -                       -                                     -
TOTAL ASSETS                                                       $             7,383,942      $          31,451,974     $        (1,859,013) $              (28,491) $             (7,704,960) $             (618,321) $             (375,593) $          (1,107,430) $           11,678,130      $                 38,820,239

Post-Petition
   Accounts payable                                                                      -                          -                       -                      -                          -                       -                       -                      -                       -                                 -
   Accrued liabilities/expenses                                                                                                                                                                                                                                                                                                -
       Employee Obligations 6                                                     1,544,127                         -                       -                      -                          -                       -                       -                      -                    71,991                         1,616,118
       Intercompany Loan Payable10                                                7,322,546                         -                       -                      -                          -                       -                       -                      -                       -                           7,322,546
   Short term debt                                                                      -                           -                       -                      -                          -                       -                       -                      -                       -                                 -
Total Post-Petition Liabilities11                                                 8,866,673                         -                       -                      -                          -                       -                       -                      -                    71,991                         8,938,664

Pre-Petition
   Accounts payable - Pre-petition 2 9                                          107,516,004                 16,081,363              10,449,439                320,529                14,404,220                  266,441                 393,914                461,429              14,392,633                       164,285,972
   Patient credit balances                                                        4,230,647                  2,753,801                 647,602                  8,508                 2,558,475                  127,761                  76,343                162,326                     -                          10,565,463
   Accrued liabilities/expenses
       Employee Obligations 6                                                     6,094,015                  3,316,599               1,158,085                  43,441                 7,191,434                 133,811                 584,831                176,579                      -                         18,698,796
       Other 8                                                                   11,677,442                   (168,384)                    -                      -                      58,305                      291                  61,635                     440             16,959,032                        28,588,761
       Intercompany                                                              13,865,683               (127,424,052)             10,354,883              1,231,084                45,156,448                 (108,233)             (2,353,840)             (1,461,217)            61,344,082                           604,838
       Due to PAHH                                                                      -                          -                       -                      -                         -                        -                       -                       -                      -                                 -
Total Pre-Petition liabilities                                                  143,383,791               (105,440,673)             22,610,010              1,603,562                69,368,882                  420,070              (1,237,117)               (660,443)            92,695,747                       222,743,830

Total liabilities                                                               152,250,464               (105,440,673)             22,610,010              1,603,562                69,368,882                  420,070              (1,237,117)               (660,443)            92,767,738                       231,682,494

EQUITY
  Capital surplus                                                                44,142,262                 46,129,259               2,214,190                 403,277                 2,620,965                 185,750                 773,229                  53,106                    -                          96,522,038
  Retained earnings                                                            (188,783,430)                90,796,636             (26,683,213)             (2,035,330)              (79,694,807)             (1,224,142)                 88,295                (500,093)           (81,305,179)                     (289,341,261)
  Profit (loss)                                                                    (225,354)                   (33,249)                    -                       -                         -                       -                       -                       -                  215,571                           (43,031)
TOTAL EQUITY                                                                 (144,866,522)                136,892,647             (24,469,023)            (1,632,053)              (77,073,842)              (1,038,392)                861,524               (446,987)            (81,089,608)                     (192,862,254)
TOTAL LIABILITIES & EQUITY                                         $            7,383,942 $                31,451,974     $        (1,859,013) $             (28,491) $             (7,704,960) $              (618,322) $             (375,593) $          (1,107,430) $           11,678,130 $                      38,820,239

Notes
1 - The balance sheets and statements of income presented herein reflect the unadjusted operations of Philadelphia Academic Health System, LLC ("PAHS"). Only 9 of the 14 debtor entities are shown in the consolidated financials. The debtor entities not listed roll up to the listed debtor entities, explained in the below
notes.
2 - Includes prior period AP Adjustment totaling $6.824MM. Adjust Conifer/Tenet liability to $57 million from $54 million.
3 - TPS of PA, L.L.C. does not report financials; however, has leasehold interests reported on respective subsidiary entities.
4 - SCHC Pediatric Associates, L.L.C. includes consolidated subsidiary debtor entities: St. Christopher's Pediatric Urgent Care Center, L.L.C. and SCHC Pediatric Anesthesia Associates, L.L.C.
5 - Includes consolidated subsidiary debtor entities HPS of PA L.L.C. and Philadelphia Academic Medical Associates.
6 - Accrued employee obligations are comprised mostly of union dues, pension, PTO and benefit accruals.
7 - During July 2021, Other Current Assets was reconciled to tie to the amounts disclosed in the November 2019 MOR, net of cash receipts. This adjustment was done to match supplemental payments received in Accounts Receivable that had already been recognized in income in prior periods.
8 - Accrued Liabilities - Other is adjusted as of January 2020. Remaining accruals include city and state hospital assessments, medicare/medicaid payment accruals, and taxes, including priority unsecured tax debt. Accruals are subject to change pending a confirmation of the assessment values.
9 - Also in July of 2021, the pre-petition liabilities were increased by approximately $10.1 million to recognize the liability due to Tenet/Confier as provided in the settlement agreement.
10 - Represents CCH’s assumption of liabilities in connection with maintenance payments for the Real Estate per the MOU [D.I 4216].
11 - This excludes a $51.0 M non-recourse HSRE liability assumed per the MOU.
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In re Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.                                         Case No. 19-11466 (MFW)
Debtors                                                                                             Reporting Period: July 1, 2023 - July 31, 2023


                                    ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


Accounts Receivable Reconciliation                                                                   June 2023                        July 2023
Total Accounts Receivable at the beginning of the reporting period                                   $435,903                         $435,347
+ Amounts billed during the period                                                                           0                                0
+ STC Straddle Payment                                                                                       0                                0
+ Additional HUH A/R Additions                                                                               0                                0
+ Collections Expected                                                                                       0                                0
- Amounts collected during the period                                                                    (555)                          (2,236)
Total Accounts Receivable at the end of the reporting period                                         $435,347                         $433,112

Accounts Receivable Aging                                                                            June 2023                        July 2023
0 - 30 days old                                                                                              0                                0
31 - 60 days old                                                                                             0                                0
61 - 90 days old                                                                                             0                                0
91+ days old                                                                                           435,347                          433,112
Total Accounts Receivable                                                                              435,347                          433,112
